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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

UNITED STATES OF AMERICA
VS. CR. NO. 04-20306-Ma
LARRY WILBORN,

Defendant.

 

ORDER GRANTING MOTION TO CONTINUE SUPPRESSION HEARING
AND EXTENSION ()F TIME TO FILE RESPONSE

 

Before the court is the govemrnent’s l\/Iay 12, 2005, motion to continue the suppression
hearing currently set for l\/lay 18, 2005. Government counsel also requests an extension of time to
file its response to the defendant’s motion to suppress For good cause shown, the motion is granted
The government shall file its response to defendant’s motion to suppress no later than May 27, 2005.
The hearing on the motion to suppress is reset for Tuesday, June 2, 2005 at 2:00 p.m.

IT ls so oRDEREI) this the '3 M~ day OfMay, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT IUDGE

 

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with Rule 55 and/or 32('0) FRCrP on ¢‘L')"Z§£ Z;'j

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Randall P. Salky

LAW OFFICE OF RANDALL SALKY
266 S. Front St.

l\/lemphis7 TN 38103

Jennifer LaWrence Webber
U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

